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  City and County of Honolulu

                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI‘I

 EDWARD ODQUINA,                            CIVIL NO. 22-CV-00407-DKW-WRP

              Plaintiff,                    DEFENDANT CITY AND COUNTY
                                            OF HONOLULU’S REPLY
       vs.                                  MEMORANDUM IN SUPPORT OF
                                            MOTION TO DISMISS FIRST
 HONOLULU COUNTY, and                       AMENDED COMPLAINT (relating
 ANNE E. LOPEZ, in her Official             to Dkt. 62, 66, 75)
 Capacity as the Attorney General of
 the State of Hawaii,                       Judge: Hon. Derrick K. Watson

              Defendants.                   Hearing: Feb. 23, 2024, 2:00 p.m.

                                            Trial Date: None
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       DEFENDANT CITY AND COUNTY OF HONOLULU’S REPLY
        MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
        FIRST AMENDED COMPLAINT (relating to Dkt. 62, 66, 75)

       The City briefly addresses Odquina’s arguments regarding viewpoint

 neutrality (and law of the case); selective enforcement; and due process.

 I.    VIEWPOINT NEUTRALITY

       This Court has already ruled that license plate alphanumerics are

 government speech. D.Ct. Order, Dkt. 31 at 2, 16-29. On this basis alone, the

 entirety of Plaintiff’s First Amendment Complaint fails and should be dismissed

 with prejudice. Even if license plate alphanumerics are a nonpublic forum,

 however, both this Court and the Ninth Circuit have already ruled that a

 prohibition on profanity is viewpoint neutral. See Ninth Cir. Order, Dkt. 46 at 2

 (“[T]he district court’s denial was proper because the relevant restrictions are not

 viewpoint based.”); D.Ct. Order, Dkt. 31 at 2 (“[T]he government’s rules

 concerning nonpublic forum speech on vanity plates are reasonable and viewpoint-

 neutral.”). Odquina maintains that his “strongest and most precise First

 Amendment claim [is] that implied profanity is a viewpoint[.]” Odquina’s Mem.

 Opp., Dkt. 75 at PDF 7. This Court and the Ninth Circuit have held otherwise.

 The entirety of his First Amendment claim fails as a matter of law.

       Odquina argues that law of the case does not apply here, and that his First

 Amendment claim survives, because of the different standards of review for a
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 motion to dismiss and a preliminary injunction. Odquina’s Mem. Opp., Dkt. 75 at

 PDF 8-12. He is incorrect. It is true that, as a general rule, “decisions on

 preliminary injunctions are not binding at trial on the merits.” S. Or. Barter Fair v.

 Jackson Cty., 372 F.3d 1128, 1136 (9th Cir. 2004), cert. denied, 546 U.S. 826

 (2005) (citation and internal quotation signals omitted). However: “A fully

 considered appellate ruling on an issue of law made on a preliminary

 injunction appeal . . . does become the law of the case for further proceedings in

 the trial court on remand and in any subsequent appeal.” 18B Charles A. Wright et

 al., Fed. Prac. & Proc. Juris. 2d § 4478.5 at 794; see also Sherley v. Sebelius, 689

 F.3d 776, 782-83 (D.C. Cir. 2012) (collecting cases). The legal question – whether

 a ban on profanity on license plates complies with the First Amendment – was

 fully briefed before this Court, fully briefed and argued before the Ninth Circuit,

 and ruled upon in unequivocal terms. See, e.g., Ninth Cir. Order, Dkt. 46 at 3

 (“[T]he relevant regulations . . . are constitutionally permissible[.]”)

       Odquina’s entire First Amendment claim rests on his mistaken belief that

 profanity is a viewpoint; he has not alleged any facts to suggest he has some other

 viewpoint being disfavored. His claim fails as a matter of law.

 II.   SELECTIVE ENFORCEMENT

       Similarly, Odquina’s argument about selective enforcement – to the extent

 he even makes such an argument – likewise fails as a matter of law. He has not


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 alleged any facts to suggest the City treated him differently because of his

 viewpoint: for example, there are no allegations that the City allowed “FCK” on

 license plates that (in the final three letters) referred to some other organization,

 while disapproving his plate with “BLM.” Instead, Odquina argues only that the

 City has approved other plates with negative connotations and that the City is

 discriminating against “FCK” as his message. Even accepting Odquina’s factual

 allegations as true, 1 his complaint fails as a matter of law: a ban on profanity is not

 viewpoint discrimination, and Odquina has not alleged any facts to suggest he is

 similarly situated to someone with a different viewpoint whose plates were

 allowed.

 III.   DUE PROCESS

        Odquina’s due process argument fails as a matter of law for many reasons.

        First, as set forth in the City’s Memorandum in Support of its Motion to

 Dismiss (Dkt. 66-1 at PDF 24-25), Odquina does not have a property interest in a

 specific alphanumeric combination. This is true whether license plate

 alphanumerics are government speech 2 or a nonpublic forum. The City is aware of


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   The City has not admitted these allegations, despite Plaintiff’s suggestion to the
 contrary. See Odquina’s Mem. Opp., Dkt. 75 at PDF 7 n.6. The City can respond
 to these factual allegations if needed, but accepts them as true solely for purposes
 of its Motion to Dismiss.
 2
  The City notes that, since this Court issued its opinion in November 2022 (Dkt.
 31), one additional court has concluded that license plate alphanumerics are not

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 only one case in which a court ruled on this issue, and the court concluded that the

 plaintiff “failed to identify a constitutionally-protected property interest sufficient

 to trigger a right to due process.” Tuttle v. Land, No. 10-11221, 2010 U.S. Dist.

 LEXIS 52057, at *15 (E.D. Mich. May 27, 2010). The same court further ruled

 that, “even assuming that Plaintiff had a property interest …, the nature of the

 interest is de minimis.” Id. at *16.

       Odquina argues that his First Amendment interest is his property interest,

 but he conflates these constitutional principles and attempts – improperly – to

 fashion a substantive due process claim out of a First Amendment claim. See Cty.

 of Sacramento v. Lewis, 523 U.S. 833, 842 (1998) (“Because we have always been

 reluctant to expand the concept of substantive due process, we held . . . that where

 a particular amendment provides an explicit textual source of constitutional

 protection against a particular sort of government behavior, that Amendment, not

 the more generalized notion of substantive due process, must be the guide for

 analyzing these claims.” (cleaned up)). Odquina does not have a First Amendment

 property interest; therefore, his substantive due process claim fails. Indeed,

 Odquina does not have any protectable property interest in the alphanumeric

 combination “FCKBLM,” such that his procedural due process claim fails as well.


 government speech. Gilliam v. Gerregano, No. M2022-00083-COA-R3-CV, 2023
 Tenn. App. LEXIS 229 (Ct. App. June 1, 2023), appeal docketed, 2023 Tenn.
 LEXIS 361 (Nov. 21, 2023).

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       Second, even if a motorist has a property interest in a specific alphanumeric

 combination, the City provided all process that was due. Applying the three-factor

 test set forth by Mathews v. Eldridge, 424 U.S. 319 (1976), the City has a strong

 interest in controlling its property, see D.Ct. Order, Dkt. 31 at 22; Odquina’s

 interest is minimal; and the risk of erroneous deprivation is low (particularly

 where, as here, there is no question that the alphanumeric combination is

 prohibited by the City’s rules). See Perry v. McDonald, 280 F.3d 159, 174 (2d Cir.

 2001) (holding that, even if the plaintiff had a property interest in a specific

 alphanumeric combination, the plaintiff was provided all the process she was due).

 A post-deprivation process is more than sufficient. See id.

       Third, although Odquina spends a significant amount of time in his

 opposition brief discussing Monell v. New York City Dep’t of Social Services, 436

 U.S. 658 (1978), Monell works against the Plaintiff here: the City has a very clear

 policy to provide due process (memorialized in its administrative rules), and

 Plaintiff has not sued any individual City officials with respect to the alleged due

 process violation.

       Fourth, Plaintiff’s entire argument about “notice” is entirely misplaced: he

 alleges (without any factual support) that information about the City’s

 administrative process was not available. But the due process “notice”

 requirement refers to notice of the action being taken by the government, which the


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 City provided: the City informed Odquina that his license plate was being recalled

 because of the implied profanity. Dkt. 62-2. See, e.g., Simpson v. Brown Cty., 860

 F.3d 1001, 1006 (7th Cir. 2017) (“The basic rights guaranteed by constitutional

 due process are notice of the intended adverse government action and an

 opportunity to be heard in response[.]” (emphasis added)); Henry J. Friendly,

 “Some Kind of Hearing,” 123 U. Penn. L. Rev. 1267, 1280 (1975) (“It is likewise

 fundamental that notice be given and that it be timely and clearly inform the

 individual of the proposed action and the grounds for it.” (emphasis added)).

       Accordingly, the U.S. Supreme Court has held that individualized notice of

 available procedures is not required:

              [W]hen law enforcement agents seize property pursuant
              to warrant, due process requires them to take
              reasonable steps to give notice that the property has been
              taken so the owner can pursue available remedies for its
              return. Individualized notice that the officers have taken
              the property is necessary in a case such as the one before
              us because the property owner would have no other
              reasonable means of ascertaining who was responsible
              for his loss.

                     No similar rationale justifies requiring
              individualized notice of state-law remedies which . . . are
              established by published, generally available state
              statutes and case law. Once the property owner is
              informed that his property has been seized, he can turn to
              these public sources to learn about the remedial
              procedures available to him. The City need not take
              other steps to inform him of his options.




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 City of W. Covina v. Perkins, 525 U.S. 234, 240-41 (1999) (citations omitted). See

 also Vialez v. N.Y.C. Hous. Auth., 783 F. Supp. 109, 117 (S.D.N.Y. 1991)

 (“Research reveals that, faced with the question, courts have uniformly found a

 plaintiff claiming a due process entitlement to specific notice of the right to appeal

 unable to demonstrate a legally sound argument.”). In the instant case, the appeal

 process was memorialized in an administrative rule which, by City Charter, is on

 file with the City Clerk. See Revised Charter of the City and County of Honolulu

 (Amended 2023) § 3-301.2 (“The city clerk shall . . . [t]ake charge of, safely keep

 and dispose of all books, papers and records which may properly be filed in the

 city clerk’s office. . . .”);3 Hawai‘i Revised Statutes (“HRS”) § 91-4(a) (requiring

 that the City’s administrative rules be filed with the City Clerk).

       Odquina, meanwhile, offers only conclusory statements – without any

 factual support – to suggest the rules were unavailable. Indeed, his sole allegation

 regarding the unavailability of the City’s rules is as follows:

                     131. Based upon information and belief, County’s
              rules pertaining to vanity license plates, specifically, the
              1990 and 1994 versions of Rules 6.2 through 6.16 were,
              prior to August 19, 2021, the date when Odquina was
              supposed to turn in his vanity license plates after their
              being recalled as referenced in Exhibit 2, unavailable
              online through Westlaw or Lexis, unavailable physically
              or electronically at the Director of Finance’s office
              located in Honolulu City Hall and physically and

 3
  The Charter is available at https://bit.ly/Revised-Charter-HNL. Section 3-301.2
 appears at PDF pages 29-30.

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              electronically unavailable at any Department of Motor
              Vehicle or Department of Customer Service office or
              station in Honolulu County and not posted on the
              websites of either the Director of Finance, the
              Department of Motor Vehicles, or the Department of
              Customer Services for County. . . .

 Dkt. 62 at 42-43 (emphasis added). Plaintiff alleges no facts (such as, e.g., a claim

 that the Plaintiff asked for the rules at various City offices but was told such rules

 do not exist) to support these allegations. Such conclusory statements do not

 satisfy the Iqbal/Twombly standard. The City had (and still has) an appeal process,

 satisfying due process.

       In sum, Odquina was given notice of the City’s action (recall of the license

 plate) and an opportunity to be heard (an administrative appeal). Even if he had a

 property interest in a specific alphanumeric combination, the City’s procedures

 satisfied due process.

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  IV.   CONCLUSION

        The City respectfully requests that this Court dismiss Odquina’s First

  Amended Complaint with prejudice.4

        DATED: Honolulu, Hawai‘i, February 7, 2024.

                                    DANA M.O. VIOLA
                                    Corporation Counsel

                                    By: /s/ Daniel M. Gluck
                                       DANIEL M. GLUCK
                                       JUSTIN M. LUNEY
                                       Deputies Corporation Counsel
                                       Attorneys for Defendant
                                       CITY AND COUNTY OF HONOLULU




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   One final note: Odquina states, in response to the State’s Rule 8 argument, that
  “[n]either State nor County had any difficulty identifying Odquina’s claims.” Dkt.
  76 at 19 (footnote omitted). The City disagrees, as evidenced by numerous
  statements in its Memorandum expressing confusion as to Odquina’s arguments.
  See, e.g., Dkt. 66-1 at PDF 12 (“Odquina’s Complaint now contains an entire count
  labeled ‘Reasonableness,’ . . . though it is unclear what, exactly, he alleges to be
  unreasonable.”); id. at PDF 15 (“Perhaps Odquina means to bring a claim of
  selective enforcement. . . .”).

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